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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN


  JEFFREY SCHREIBER, individually and
  on behalf of all others similarly situated,    Case No. 2:22-cv-00188-HYJ-RSK

                                                 Hon. Hala Y. Jarbou
                     Plaintiff,
                                                 FIRST AMENDED CLASS
                                                 ACTION COMPLAINT
        v.
                                                 JURY TRIAL DEMANDED
  MAYO FOUNDATION FOR MEDICAL
  EDUCATION AND RESEARCH,


                     Defendant.

               PLAINTIFF’S RESPONSE IN OPPOSITION TO
                DEFENDANT’S MOTION TO DISMISS THE
              FIRST AMENDED CLASS ACTION COMPLAINT
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                         STATEMENT OF ISSUES PRESENTED

        1.     Are the First Amended Class Action Complaint’s factual allegations
 that Defendant, during the relevant pre-July 31, 2016 time period, disclosed
 “Plaintiff’s Private Reading Information to data aggregators, data appenders, and/or
 data cooperatives,” as well as “rented or exchanged mailing lists containing
 Plaintiff’s Private Reading Information to third parties seeking to contact
 [Defendant’s] subscribers, without first obtaining the requisite written consent from
 Plaintiff” (see First Amended Class Action Complaint (ECF No. 19) at ¶ 18) –
 allegations which are bolstered by screenshots of and citations to Defendant’s data
 card, online material detailing how its lists are enhanced and used by marketers and
 providing additional details about the various customer lists it offers, and its privacy
 policy in which it admits to disclosing its customers’ Private Reading Information –
 sufficient to plausibly suggest an entitlement to relief under the version of
 Michigan’s Preservation of Personal Privacy Act in effect through July 30, 2016?

              Plaintiff’s Answer: Yes.




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       CONTROLLING AND MOST APPROPRIATE AUTHORITIES

 M.C.L. § 600.5813

 Fed. R. Civ. P. 8

 Horton v. GameStop Corp., 380 F. Supp. 3d 679 (W.D. Mich. 2018)

 Carter v. DTN Mgmt. Co., --- N.W.2d ---, 2023 WL 439760 (Mich. Ct. App. Jan.
 26, 2023)

 Krassick v. Archaeological Inst. of Am., 2022 WL 2071730 (W.D. Mich. June 9,
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 Mich. Executive Order 2020-58

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       Plaintiff Jeffrey Schreiber submits this response in opposition to Defendant’s

 Motion to Dismiss (ECF No. 24) and Brief in Support (ECF No. 25 (“Def.’s Br.” or

 the “Br.”)) the First Amended Complaint (ECF No. 19 (“FAC”)).

                                  INTRODUCTION

       In this putative consumer class action, Plaintiff alleges that Defendant violated

 Michigan’s Preservation of Personal Privacy Act (“PPPA”) 1 by disclosing, without

 his consent, information that identified him as (inter alia) a subscriber to

 Defendant’s Mayo Clinic Health Letter publication. On behalf of himself and others

 similarly situated, Plaintiff seeks to recover $5,000, as provided by the PPPA, for

 each of Defendant’s statutory violations.

       Defendant moves to dismiss the FAC on the ground that Plaintiff fails to

 adequately allege that Defendant disclosed his Private Reading Information to third


 1
        The PPPA (occasionally referred to in the caselaw as the “Video Rental
 Privacy Act” or the “VRPA”) is found at H.B. 5331, 84th Leg. Reg. Sess., P.A. No.
 378, §§ 1-4 (Mich. 1988), id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A.
 No. 206, § 1 (Mich. 1989). In May 2016, the Michigan legislature amended the
 PPPA. See S.B. 490, 98th Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at
 M.C.L. § 445.1711, et seq.). The May 2016 amendment to the PPPA, which became
 effective on July 31, 2016, does not apply retroactively to claims that accrued prior
 to its July 31, 2016 effective date. See Boelter v. Hearst Commc’ns, Inc., 192 F.
 Supp. 3d 427, 439-41 (S.D.N.Y. 2016) (holding that “the amendment to the [PPPA]
 does not apply to Plaintiffs’ claims, and the Court will assess the sufficiency of those
 claims under the law as it was when Plaintiffs’ claims accrued.”) (citing Landgraf v.
 USI Film Prods., 511 U.S. 244, 286 (1994)). Because the claims alleged herein
 accrued, and thus vested, prior to the July 31, 2016 effective date of the amended
 version of the PPPA, the pre-amendment version of the PPPA applies in this case.
 See Horton v. GameStop Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018).

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 parties during the relevant time period.2

       Plaintiff adequately states a claim for violation of the PPPA that accrued

 between June 18, 2016 and through July 30, 2016. The FAC specifically alleges that,

 “during the relevant pre-July 31, 2016 time period,” Defendant “continuously” and

 “at least as frequently as once a month,” “rent[ed], exchang[ed], or otherwise

 disclos[ed] all of its customers’ Personal Reading Information,” to various third

 parties, including “data aggregators, data appenders, data cooperatives, and list

 brokers, among others,” all without its subscribers’ consent. And the FAC shoves

 these allegations across the line of plausibility by attaching a screenshot depicting

 Defendant’s publicly accessible “data card” in existence today, which offers for sale

 Defendant’s customers’ Private Reading Information “THROUGH 07/19/2022”, by

 alleging that the same data card also existed throughout the relevant pre-July 31,

 2016 time period, while also attaching another copy of Defendant’s data card that

 pre-dates the pre-July 31, 2016 time period, and by providing additional

 documentation demonstrating that Defendant rented its list continuously throughout


 2
        As Defendant effectively concedes in the Motion—not moving to dismiss on
 statute of limitations grounds—it is well established that “[a] six-year statute of
 limitations applies to PPPA claims.” Pratt v. KSE Sportsman Media, Inc., 586 F.
 Supp. 3d 666, 673 (E.D. Mich. 2022). Moreover, that six-year period was tolled for
 101 days pursuant to the COVID-19 Orders, thus rendering any disclosures of
 Plaintiff’s personal information that occurred between June 18, 2016 (six years plus
 101 days before the date on which this action was initiated) and July 30, 2016 (the
 last date that the unamended version of the PPPA that Plaintiff invokes in this case
 was in effect) actionable in this case.

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 the relevant pre-July 31, 2016 time period.

       Additionally, the FAC cites to and attaches as exhibits a publicly available

 copy of Defendant’s privacy policy and other documentation from before or within

 the relevant pre-July 31, 2016 time period (in which the company also admits to, or

 other parties admit to being part of, Defendant disclosing its customers’ Private

 Reading Information), many of which were cached by and located in the archives of

 the Wayback Machine Internet Archive (archive.org). Moreover, the FAC alleges

 that, “[a]s a result of [Defendant’s practices of] disclosing Plaintiff’s Private Reading

 Information during the relevant pre-July 31, 2016 time period, Plaintiff saw a

 dramatic uptick of junk mail in his mailbox . . . over the same time period.” Taken

 together, these factual allegations – which are well-pled and must be accepted as true

 at this stage of the proceedings – easily state a claim for relief under the PPPA.

       The FAC states a claim for relief, and the Motion should be denied.

                                      THE PPPA

       In 1988, Michigan’s legislature enacted the PPPA to protect “privacy with

 respect to the purchase, rental, or borrowing of certain materials” by prohibiting

 companies from disclosing certain types of sensitive consumer information. H.B.

 No. 5331, 1988 Mich. Legis. Serv. 378 (West). Subsection 2 of the PPPA states:

              [A] person, or an employee or agent of the person,
              engaged in the business of selling at retail, renting, or
              lending books or other written materials, sound
              recordings, or video recordings shall not disclose to any


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              person, other than the customer, a record or information
              concerning the purchase . . . of those materials by a
              customer that indicates the identity of the customer.

 PPPA § 2 (emphasis added).

       Michigan’s passage of the PPPA established as a matter of law “that a

 person’s choice in reading, music, and video entertainment is a private matter, and

 not a fit subject for consideration by gossipy publications, employers, clubs, or

 anyone else for that matter.” Privacy: Sales, Rentals of Videos, etc., House

 Legislative Analysis Section, H.B. No. 5331, Jan. 20, 1989. See FAC, Ex. F.

              FACTUAL ALLEGATIONS OF THE COMPLAINT

       Defendant maintains a vast digital database comprised of all its customers’

 Private Reading Information. Id. ¶ 50. Since at least as far back as 2005 through the

 present, including for the entire pre-July 31, 2016 time period, Defendant

 continuously transmitted its entire database of its customers’ Private Reading

 Information to data appenders and aggregators at least as frequently as once a month,

 as well as to other third party renters and exchangers on a regular basis over the same

 time period. Id. ¶¶ 1, 3, 5, 6, 10, 14, & id., Exs. A-C.

       Indeed, over that period of time, Defendant disclosed Plaintiff’s and all of its

 other subscribers’ Private Reading Information in at least three ways. Id. ¶¶ 1, 5, 6,

 8, 10, 14, 69. First, Defendant disclosed mailing lists containing Plaintiff’s (along

 with all its other subscribers’) Private Reading Information to data aggregators and



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 data appenders, who then supplemented the mailing lists with additional sensitive

 information from their own databases before sending the mailing lists back to

 Defendant. Id. ¶¶ 50, 70; see also id. ¶ 5-7 & id., Exs. C, D.3 Second, Defendant


 3
         And RMI Direct Marketing (“RMI”) states that Defendant “has been ‘an RMI
 client since 2005”, and indicates that, between 2005 and 2018, RMI managed
 [Defendant’s] ‘datacards’ and brokered list rentals, ‘increased [Defendant]’s
 multichannel marketing efforts’, ‘increased tests on [Defendant]’s mature list rental
 file’, and, through its list rental efforts on [Defendant]’s behalf, was overall ‘able to
 provide greater value per name’ on [Defendant]’s subscriber list for Mayo Clinic
 year over year.” FAC ¶ 5 (citing to Ex. C to FAC) (cleaned up). Moreover, although
 Defendant attempts to liken this documentation to a case study exhibit in Nashel, Br.
 at 14, PageID.1169, that case cited to a discreet usage of defendant’s list. While the
 article cited in the FAC here necessarily entails continued usage as it describes
 providing greater value year over year – which makes it clear that the timeframe
 discussed is being compared to previous usage. Further, RMI also added four
 datacards to the marketplace for Defendant, which RMI had “enhanced” on
 Defendant’s behalf – i.e., appended additional information about each of
 Defendant’s customers to enhance the value of their Personal Reading Information,
 enabling Defendant to then sell, rent, exchange, and otherwise disclose this
 information to third party renters and others for more money. Id. ¶ 6.
         RMI’s clients, such as Defendant, used RMI’s services during the relevant
 pre-July 31, 2016 time period, by transmitting its entire subscriber files to RMI, who
 in turn “appends” additional demographic and personal data about each subscriber
 to the file, thereby “enhancing” it (i.e., making it more valuable, and allowing the
 publisher to rent its lists to third parties for more money and to exchange its lists to
 other third parties on more favorable terms), and also provides the Defendant with
 the Personal Reading Information of other individuals who are not existing
 subscribers to its publications but who fit certain pre-determined criteria that render
 them likely to be interested in purchasing subscriptions to its publications, i.e.,
 “prospects” to whom the publisher then markets its publications. Id.
         Throughout the relevant pre-July 31, 2016 time period, Defendant (as a data
 “enhancement” and “prospecting” client of RMI’s) was contractually obligated to
 provide RMI the Personal Reading Information of all of the subscribers (as well as
 all of the recently expired subscribers) to its Mayo Clinic Health Letter publication,
 on a periodic and regular basis (at least as frequently as once a month), which RMI
 then used to facilitate its list enhancement and prospecting services. Id. Thus,

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 disclosed mailing lists containing Plaintiff’s (along with all its other subscribers’)

 Private Reading Information to data cooperatives, who in turn gave Defendant

 access to their own mailing list databases. Id. ¶¶ 52, 71. And third, Defendant rented

 and/or exchanged its mailing lists containing Plaintiff’s (along with all its other

 subscribers’) Private Reading Information—enhanced with additional information

 from data aggregators and appenders—to third parties, including other consumer-

 facing companies, direct-mail advertisers, and organizations soliciting monetary

 contributions, volunteer work, and votes. Id. ¶¶ 51, 72. As a result of Defendant’s

 data compiling and sharing practices, companies can purchase and/or obtain mailing

 lists from Defendant that identify its customers by their most intimate details such

 as their gender. Id. ¶¶ 53, 56. Defendant’s disclosures of such sensitive and private

 information puts consumers, especially the more vulnerable members of society, at

 risk of serious harm from scammers. Id. ¶¶ 16, 53.

       Defendant did not seek its customers’ prior consent, written or otherwise, to

 any of these disclosures and its customers remain unaware that their Private Reading

 Information and other sensitive information has been rented and exchanged on the

 open market. Id. ¶ 53.


 because Defendant was a client of RMI’s throughout the relevant pre-July 31, 2016
 time period (see Ex. C to FAC), Defendant necessarily transmitted all of its
 subscribers’ Personal Reading Information (including Plaintiff’s and all Class
 members’ Personal Reading Information) to RMI on at least as frequently as a
 monthly basis over the same time period. Id.

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       The FAC includes a screenshot of a “data card” titled “MAYO CLINIC

 HEALTH LETTER Mailing List” – which, as of the filing of this action, was

 publicly available on list broker NextMark, Inc.’s website. In the data card,

 Defendant offers to rent or exchange the Private Reading Information of all of its

 subscribers – with “COUNTS THROUGH 07/19/2022” – to anyone interested in

 purchasing it. Id. ¶ 2, Ex. A. 4 As shown in the screenshot of the data card, the list

 offered for rental or exchange by Defendant also contains myriad other categories

 of individualized data and demographic information about each subscriber listed,

 such as gender – data which is also available for rental or exchange for additional

 charges. See id. ¶¶ 2, 14 & id., Ex. A.

       The same or a substantially similar “data card” as the one shown in Ex. A to



 4
        Defendant says that “Exhibit A did not reflect the source of the information
 allegedly available, how NextMark obtained the information, or the individuals
 whose information is advertised.” Br. at 3, PageId.1158. But, as argued below, where
 else is information about Defendant’s subscribers to come from if not from
 Defendant itself? Defendant also argues that Plaintiff’s allegation that the
 information came from Defendant is inaccurate because the “source” notation on the
 data cards attached in Exs. A and B to the FAC (“Source: Direct Mail” and “Source:
 Direct Mail Sold”) demonstrate that the information came from “individual[s who]
 responded to a direct mail promotion—not the source of the data.” Id. at 3 n.2. See
 also Br. at 12, PageID.1167 (making the same argument). First, and notably though,
 Defendant never argues that it is not the source of the information. Moreover,
 Defendant’s knowledge of this merely strengthens the plausibility of the allegation
 that this information emanated from it. And most important, Plaintiff specifically
 alleges that Defendant is and was the source of this disclosed data, and the
 allegations of the FAC concerning Defendant’s relationship with data companies,
 including RMI, plausibly support those allegations.

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 the FAC, with the same or similar rates and advertised demographic and personal

 information about each U.S. based purchaser of a subscription as listed above, was

 also publicly advertised by Defendant as far back as the beginning of 2005 and

 throughout the entire pre-July 31, 2016 time period – thus demonstrating that

 Defendant was renting, selling, exchanging, and otherwise disclosing all of its

 customers’ Private Reading Information (including Plaintiff’s and all Class

 members’ Private Reading Information) to third parties during the relevant pre-July

 31, 2016 time period. Id. ¶¶ 2, 3.

        Defendant was continuously renting, exchanging, and otherwise disclosing all

 of its customers’ Private Reading Information (including Plaintiff’s and all Class

 members’ Private Reading Information) to third parties during the relevant pre-July

 31, 2016 time period. Id. ¶¶ 1, 14, 69-81. As a result of Defendant disclosing

 Plaintiff’s Private Reading Information during the relevant pre-July 31, 2016 time

 period, Plaintiff saw a dramatic uptick of junk mail in his mailbox following his

 purchase of a subscription to Mayo Clinic Health Letter over the same time period.

 Id. ¶¶ 1, 11.

        By renting, exchanging, or otherwise disclosing the Private Reading

 Information of Plaintiff and its other Michigan-resident subscribers during the

 relevant pre-July 31, 2016 time period, Defendant violated the PPPA. Id. ¶¶ 12, 81.

 Plaintiff seeks $5,000.00 for himself and each Class member pursuant to PPPA §



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 5(a) and costs and reasonable attorneys’ fees pursuant to PPPA § 5(b). Id. ¶ 82.

                                      ARGUMENT

          First, as effectively conceded by Defendant (Br. at p. 2-3 & n.1, PageID.1157-

 58), a six-year limitation period governs the PPPA claim alleged in the FAC, and the

 COVID-19 Orders extended the limitation period applicable to Plaintiff’s and the

 Class’s claims by 101 days. And with the benefit of such tolling, the FAC plausibly

 states a claim for relief that accrued during the six-year limitation period applicable

 to a PPPA claim.5

     I.      The FAC Adequately Alleges That Defendant Disclosed Plaintiff’s
             Private Reading Information in Violation of the PPPA Between June
             18, 2016 and July 30, 2016

          Defendant argues that Plaintiff “cannot establish that [Defendant] disclosed

 his data to a third party” during the pre-July 31, 2016 time period and that Plaintiff



 5
        On January 26, 2023, the Michigan Court of Appeals issued a published
 decision on a case concerning the effect of the Michigan Supreme Court’s COVID-
 19 emergency administrative orders on determining court filing deadlines. See
 Carter v. DTN Mgmt. Co., --- N.W.2d ---, 2023 WL 439760 (Mich. Ct. App. Jan.
 26, 2023) (attached as Exhibit A hereto). The Court of Appeals held that the
 COVID-19 Orders “broadly excluded any day within the state of emergency ‘for
 purposes of determining the deadline applicable to the commencement of all civil
 and probate case types under MCR 1.108(1).” Carter, 2023 WL 439760, at *3
 (emphasis in Carter) (citing AO 2020-18). As such, any disclosure of Plaintiff’s
 Private Reading Information by Defendant between June 18, 2016 and July 30, 2016
 is actionable in this case. See, e.g., Carter, 2023 WL 439760, at *3 (“conclud[ing]
 that plaintiff’s complaint was timely filed,” explaining: “On March 10, 2020,
 plaintiff had 10 months left to file her complaint. Accordingly, she had that same
 amount of time to file beginning on June 20, 2020.”).

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 “has no direct evidence of an alleged violation.” Br. at 9, PageID.1164. The

 argument is without merit. The FAC’s allegations plausibly demonstrate that

 Defendant disclosed Plaintiff’s Private Reading Information in violation of the

 PPPA during the relevant pre-July 31, 2016 time period.

       Review of the FAC is governed by the liberal Rule 8 pleading standard.

 Plaintiff is not required to prove his claim with evidence at this time. He must merely

 allege facts that plausibly suggest Defendant violated the PPPA. See, e.g.,

 Zimmerman v. 3M Co., 542 F. Supp. 3d 673, 681 (W.D. Mich. 2021).

       “The Michigan [PPPA] prohibits a person, and an employee or agent of the

 person, engaged in the business of selling at retail books or other written materials,

 from disclosing to any person, other than the customer, a record or information

 concerning the purchase of those materials by a customer that indicates the identity

 of the customer.” Boelter v. Hearst Commc’ns, Inc., 269 F. Supp. 3d 172, 177-78

 (S.D.N.Y. 2017) (quoting PPPA § 2) (cleaned up).

       The FAC alleges that during the relevant pre-July 31, 2016 time period,

 Defendant disclosed the Private Reading Information of its Michigan-based

 subscribers, including Plaintiff and all Class members, to various third parties,

 including data appenders, data aggregators, list brokers, marketing companies, and

 many others. FAC ¶¶ 1-2, 5-6, 9-10, 14, 50-54, 69-81. The FAC alleges that

 Defendant “continuously engaged” in these practices (disclosing Defendant’s entire



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 database of its customers’ Private Reading Information to third parties), “at least as

 frequently as once a month,” for the duration of the relevant pre-July 31, 2016 time

 period. Id. ¶¶ 10, 14. The FAC corroborates these allegations by also alleging facts

 showing that Defendant’s entire customer database (containing the personal, PPPA-

 protected data pertaining to all of its customers, including Plaintiff and each Class

 member) has been advertised by Defendant for rental and exchange on the open

 market since as far back as 2005 and throughout the relevant pre-July 31, 2016 time-

 period, see id. ¶ 5 & id., Ex. C (showing that Defendant has been a client of RMI

 Direct Marketing continuously since 2005 and detailing RMI’s marketing efforts

 using Defendant’s mature list file); see also id. ¶¶ 6, 7 & id., Ex. D (detailing

 appending and enhancement of Defendant’s list and the different lists and variables

 available for purchase); & id. ¶ 8 (concerning admissions in Defendant’s privacy

 policy in effect on July 10, 2016), and that over the same time period Defendant in

 fact routinely disclosed that entire customer database to various third parties,

 including data appenders, data aggregators, list brokers, marketing companies, and

 many others. FAC ¶¶ 1-2, 6, 9-10, 14, 50-54, 69-81. Plaintiff bolsters these factual

 allegations by including a screenshot of a data card posted on data-broker

 Nextmark’s website that offers renters access to the mailing list titled “MAYO

 CLINIC HEALTH LETTER Mailing List”, which contains the Private Reading

 Information of all of Defendant’s subscribers. Id. ¶ 2 & id., Ex. A. This data card



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 indicates that the data is cumulative of all subscribers, with “COUNTS THROUGH

 07/19/2022.” Id.

       Numerous courts across the country, including in this District, have held such

 factual allegations sufficient to state a claim for a violation of the PPPA. See, e.g.,

 Horton v. GameStop Corp., 380 F. Supp. 3d 679, 682 (W.D. Mich. 2018); Perlin v.

 Time Inc., 237 F. Supp. 3d 623, 642 (E.D. Mich. 2017); Moeller v. Am. Media, Inc.,

 235 F. Supp. 3d 868, 873 (E.D. Mich. 2017); Boelter v. Hearst Commc’ns, Inc., 192

 F. Supp. 3d 427, 453 (S.D.N.Y. 2016); Boelter v. Advance Mag. Publishers Inc., 210

 F. Supp. 3d 579, 590 (S.D.N.Y. 2016).

       But the FAC does not stop there. The FAC pushes these allegations across the

 line of plausibility: by alleging that the same or substantially similar data card

 attached as Ex. A to the FAC also existed throughout the relevant pre-July 31, 2016

 time period, providing a screenshot of a prior data card, which similarly offered to

 provide renters access to Defendant’s mailing list, entitled “MAYO CLINIC

 HEALTH LETTER[,]” id. ¶¶ 3-4, & id., Ex. B (with “COUNTS THROUGH

 10/31/2006”); by citing to and attaching as exhibits a publicly available copy of

 Defendant’s privacy policy updated before and in-use during the relevant pre-July

 31, 2016 time period (in which the company also admits to disclosing its customers’

 Private Reading Information) and online material from RMI Direct Marketing in

 which it lauds the performance of and details its marketing efforts on behalf of



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 Defendant’s mailing list; and by also attaching a copy of an overview of the various

 customer lists of Defendants that are for rent or exchange (many of these exhibits

 were cached by and located in the archives of the Wayback Machine Internet

 Archive (archive.org)). FAC ¶¶ 5-8 & id., Exs. C-E. Moreover, the FAC alleges that

 “[a]s a result of [Defendant’s] practices of disclosing Plaintiff’s Private Reading

 Information during the relevant pre-July 31, 2016 time period, Plaintiff saw a

 dramatic uptick of junk mail in his mailbox . . . over the same time period.” FAC ¶

 11; see also id. ¶ 1. Taken together, these factual allegations—which are well-pled

 and must be accepted as true at this stage of the proceedings—more than adequately

 state a claim for relief under the PPPA.

       The Privacy Policy attached to the FAC as Ex. E is a cached copy from the

 Wayback Machine from July 10, 2016, which means that it was the still-operative

 Policy in place during the relevant pre-July 31 time period (it contains an updated

 date of July 13, 2013). FAC ¶ 8 & id., Ex. E. In it, Defendant admits that it has a

 practice of disclosing all of its subscribers’ Personal Reading Information to third

 parties, including by “stor[ing]” its customers’ “personal information” with “a third-

 party vendor,” and by “regularly shar[ing] our postal mailing list with other

 organizations offering products and services that may be of interest to our




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 customers.” Id., Ex. E. 6 These admissions, squarely from within the relevant pre-

 July 31, 2016 time period, by themselves are sufficient to render the FAC’s


 6
         Defendant claims that the Privacy Policy only refers to
 HealthLetter.MayoClinic.com and data collected through its website, and that there
 is no allegation that Plaintiff used the website in connection with his subscription.
 Br. at 6, 13, PageID.1161, 1168. Defendant’s argument misses the mark though. The
 Privacy Policy also states, without any limitation as to what constitutes its mailing
 list, that it is their entire “postal mailing list” that it shares. Moreover, information
 in the data cards confirm the same.
         Defendant also argues that the Privacy Policy attached as Exhibit E to the
 FAC does not affirmatively state that Mayo has or will disclose all of its subscriber
 data, or that it did so during the window at issue here, and that the Privacy Policy
 “merely states that Mayo “‘regularly share[s] our postal mailing list with other
 organizations’” – arguing that “is not an admission that Mayo did share information
 during the relevant period.” Br. at 12, PageID.1167. However, the FAC alleges, and
 Plaintiff and his counsel know from significant experience litigating these cases, that
 the above is not the way it works in the data brokerage business. As the FAC alleges,
 Defendant transmitted its entire customer database to data appenders and
 aggregators in order for those entities to “enhance” Defendant’s data by appending
 to it additional demographic and personal information about each of its customers,
 which Defendant could then rent and exchange to other third parties for more money
 and on more favorable terms, and that such agreements required disclosure on at
 least as frequently as a monthly basis. See FAC ¶¶ 4, 51, 70; see also id. ¶ 6 & id.,
 Exs. C, D. And that makes sense, because the data appenders and data aggregators
 could not possibly have known who Defendant’s customers were (for purposes of
 appending more data about each of them to Defendant’s customer database) unless
 Defendant transmitted to them its customer database that identified each of those
 customers.
         Defendant also argues that the three-year gap between the Privacy Policy’s
 last update and the end of pre-July 31, 2016 is “too tenuous a connection” (Br. at 12-
 13, PageID.1167-68), but Defendant fails to acknowledge that the version of the
 Privacy Policy was cached, and thus present and still applicable, on July 10, 2016,
 squarely within the pre-July 31, 2016 period. It is not merely that Plaintiff nakedly
 alleges as much, rather Plaintiff has attached evidence of its cache date. See FAC,
 Ex. E (The Wayback Machine’s URL link for Ex. E includes the precise date for
 which it was present and thus cached: https://web.archive.org/web/20160710—
 which indicates that it was cached on 2016, July 10th).

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 disclosure-related allegations plausible.

       The recent decision Nashel v. The New York Times Co., 2022 WL 6775657,

 at *1, 5 (E.D. Mich. Oct. 11, 2022), serving as virtually the entire basis of

 Defendant’s Motion (Br. at 9-14, PageID.1164-69), is readily distinguishable and,

 in any event, an outlier that was wrongly decided. The plaintiffs in Nashel pointed

 to data cards “published online in 2007 and 2008” to support their allegations that

 the Defendant disclosed its subscribers’ Private Reading Information eight years

 later during the applicable limitation period—and the court in Nashel seized on this

 “timing issue” in its order granting defendant’s motion to dismiss. See Nashel, 2022

 WL 6775657, at *1, 5. In this case, on the other hand, there is no such “timing issue”

 because the FAC: (1) attaches a copy of the “MAYO CLINIC HEALTH LETTER

 Mailing List” offered for sale in 2022 (with “COUNTS THROUGH 07/19/2022”),

 post-dating the relevant pre-July 31, 2016 time period, FAC ¶ 2 & id., Ex. A; (2)

 attaches exhibits of articles from prior to and during the relevant pre-July 31, 2016

 time period, which make clear that Defendant was continually engaged in the

 wholesale disclosure of its subscriber database to third party marketers throughout

 the relevant pre-July 31, 2016 time period, see FAC ¶¶ 5-7 & id., Exs. C-D; and (3)

 attaches a cached copy of Defendant’s own Privacy Policy (last updated in 2013) as

 it existed on July 10, 2016, squarely in the middle of the relevant pre-July 31, 2016

 time period in which Defendant admits to engaging in the disclosure practices



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 alleged in the FAC. 7 FAC ¶ 8 & id., Ex. E. These allegations collectively show that

 Defendant’s practices of systematically disclosing all of its customers’ Private


 7
        The Wayback Machine Internet Archive (archive.org) has cached copies of
 webpages on sites across the Internet from various dates on which its “crawlers”
 were active and were collecting data. See “Internet Archive: Web archiving,”
 Wikipedia, available at: https://en.wikipedia.org/wiki/Internet_Archive#Web
 _archiving (last accessed Nov. 30, 2022) (“The service can be used to see what
 previous versions of web sites used to look like, to grab original source code from
 web sites that may no longer be directly available, or to visit web sites that no longer
 even exist. Not all web sites are available because many web site owners choose to
 exclude their sites. As with all sites based on data from web crawlers, the Internet
 Archive misses large areas of the web for a variety of other reasons.”). Thus, the fact
 that cached copies of Defendant’s data card are not available from the relevant pre-
 July 31, 2016 time period in no way indicates that the data card was not publicly
 accessible on Nextmark’s website during the relevant pre-July 31, 2016 time period.
 As the FAC alleges, the disclosure practices in which Defendant was engaged prior
 to the relevant pre-July 31, 2016 time period, as evidenced by: the data cards (one
 from prior to the relevant period and one following it); online articles from RMI
 stating a continuous relationship with Defendant disclosing its mailing list since
 2005 and detailing the various Defendant customer lists for rental and exchange; and
 the Privacy Policy cited in the FAC—all of these practices which have persisted
 unabated up through at least July 19, 2022, including for the duration of the relevant
 pre-July 31, 2016 time period. See ¶¶ 2-10, & id., Exs. A-E. See also FAC ¶ 3
 (alleging that “[t]he same or a substantially similar ‘data card’ as the one shown
 above [Ex. A], with the same or similar rates and advertised demographic and
 personal information about each U.S. based purchaser of a subscription as listed
 above, has been publicly advertised by [Defendant] as far back as 2005 and was
 publicly advertised by [Defendant] on a continuous basis between 2005 and the
 present, including throughout the entire pre-July 31, 2016 time period – thus
 demonstrating that [Defendant] was renting, selling, exchanging, and otherwise
 disclosing all of its customers’ Personal Reading Information (including Plaintiff’s
 and all Class members’ Personal Reading Information) to third parties during the
 relevant pre-July 31, 2016 time period.”) & id. ¶ 13 (alleging that Defendant
 “continuously engaged in these same practices (disclosing its entire database of its
 customers’ Personal Reading Information to third parties, at least as frequently as
 once a month) since at least as far back as 2015 through the present, including for
 the entire pre-July 31, 2016 time period”).

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 Reading Information and other data (to third party data appenders, aggregators,

 renters, and others) began at least as far back as 2005 and persisted “THROUGH

 07/19/2022,” and thus were ongoing during the relevant pre-July 31, 2016 time

 period. FAC ¶¶ 1-2, 5-6, 9-10, 14, 50-54, 69-81 & id., Exs. A-E.8 Therefore, unlike

 in Nashel, where the plaintiff’s allegations of 2015-16 disclosures were unsupported

 by a data card that post-dated that timeframe, here Plaintiff has attached as an exhibit

 a data card that post-dates the relevant pre-July 31, 2016 timeframe and has pled

 numerous additional facts establishing (and at the very least plausibly suggesting)

 that Defendant was actively and continuously disclosing Plaintiff’s and Class

 members’ (and all of its other customers’) Private Reading Information to third

 parties on a monthly basis between 2005 and 2022 – a period of time which

 encompasses the entire relevant pre-July 31, 2016 time period.




 8
        Put another way, the screenshot of Defendant’s data card on Nextmark’s
 website in Ex. A to the FAC establishes that Defendant’s mailing list continued to
 be available online after the relevant pre-July 31, 2016 time period (in addition to
 Ex. B to the FAC establishing that it was available prior), whereas the screenshots
 in Nashel from 2007 and 2008 showed only that the New York Times mailing lists
 were available before the relevant pre-July 31, 2016 time period. Data sets comprise
 information gathered in the past. That is, a 2022 data set concerns actions taken in
 or prior to 2022—evidenced by the language of the mailing list itself (“COUNTS
 THROUGH”) and as corroborated by numerous factual allegations of the FAC and
 the exhibits thereto (see, e.g., FAC ¶¶ 1-2, 5-6, 9-10, 14, 50-54, 69-81 & id., Exs. A-
 E). The same may not be said of the 2007 and 2008 Nashel data cards screenshots,
 all of which pre-dated the relevant pre-July 31, 2016 time period.

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       Indeed, unconstrained by the timing issue related to the data cards identified

 in Nashel, the allegations of the FAC easily state a claim for violation of the PPPA.

 Again, the FAC specifically alleges that Defendant disclosed its entire subscriber

 database, including Plaintiff’s and all other Michigan customers’ Private Reading

 Information, to data aggregators and appenders and numerous other third parties, on

 at least as frequently as a monthly basis, during the relevant pre-July 31, 2016 time

 period. FAC, ¶ 6. And because the relevant pre-July 31, 2016 time period in this case

 is greater than a month (specifically, from June 18, 2016 through July 30, 2016), it

 may reasonably be inferred that Defendant disclosed its subscriber database

 (comprised of Plaintiff’s and all Class members’, and all of its other customers’,

 Private Reading Information) at one of those monthly (or more frequent) intervals

 during that timeframe.

       Further, Nashel is an outlier in PPPA jurisprudence and Plaintiff firmly

 believes it was wrongly decided. The decision applied a pleading standard far more

 stringent than Rule 8 imposes, 9 and required specificity that no PPPA plaintiff could


 9
        For one, Nashel improperly analyzed the plausibility of the complaint’s
 allegations. See Nashel, 2022 WL 6775657, at *5 (stating that “the data cards make
 the complaint’s allegations merely possible rather than plausible”). This was a plain
 error. On a motion to dismiss pursuant to Rule 12(b)(6), the question is not whether
 the complaint’s allegations are plausible. Instead, the complaint’s allegations must
 be accepted as true, and the question is whether those allegations, viewed together
 and with all reasonable inferences drawn in the plaintiff’s favor, are plausibly
 suggestive of a claim for relief. See, e.g., Doe v. Michigan State Univ., 989 F.3d 418,
 425 (6th Cir. 2021). Nashel also recast allegations that were plainly factual in nature

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 ever satisfy. Every other court that presided over similar PPPA actions against

 publishers of written materials, arising from substantially the same allegations as

 those made by Plaintiff here, has held that these allegations adequately stated a claim

 under the PPPA—including, most recently, in a well-reasoned, published decision

 from the Hon. Gordon J. Quist of the Western District of Michigan in Horton. See

 Horton, 380 F. Supp. 3d at 682 (“Given that GameStop possessed the Game

 Informer subscription information and that NextMark purported to sell that

 information, the implication that GameStop disclosed the information to NextMark

 or other data-mining companies passes the threshold of plausibility”); see also Cain

 v. Redbox Automated Retail, LLC, 981 F. Supp. 2d 674, 685 (E.D. Mich. 2013)

 (Rosen, J.).

       Defendant cites a non-binding, unpublished decision in Wheaton v. Apple Inc.,

 2019 WL 5536214 (N.D. Cal. Oct. 25, 2019), Br. at 11 n.5, PageID.1166, but it too

 is readily distinguishable. For one, the FAC here contains many factual allegations

 concerning disclosures (made by a publisher of written material—pursuant to

 standard, industry-wide practices—not by a technology company like Apple) that

 were not alleged in Wheaton. See FAC ¶¶ 37-38. Moreover, in Wheaton, the


 (such as, e.g., allegations that defendant systematically disclosed subscriber lists
 containing the plaintiff’s Private Reading Information to specific third parties over
 a specific period of time) as “legal conclusions” merely because that underlying
 conduct happened to give rise to a PPPA claim. See Nashel, 2022 WL 6775657, at
 *5.

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 plaintiffs alleged PPPA violations arising from alleged disclosures of music stored

 on their phones and relied on NextMark data cards advertising the sale of this sort

 of data to bolster those allegations. Wheaton, 2019 WL 5536214 at *4. However, the

 defendant there argued that it was not plausible to infer that Apple was even

 responsible for disclosing the data offered for sale on the data cards (neither directly

 nor indirectly) because that information (the existence of music files on a phone), is

 unlike the Private Reading Information at issue in a case against a publisher of

 written material such as here (which is comprised of records concerning a purchase

 of a healthletter subscription to one of Defendant’s publications); the defendant in

 Wheaton, in its motion to dismiss briefing, focused on this distinction, explaining

 that the information there was “not information that would uniquely come from the

 defendant (as actual lists of the names of who subscribes to a [periodical] plus their

 delivery addresses would likely come from the magazine publisher).” See Wheaton,

 Case No. 19-cv-02883 (N.D. Cal. Sept. 20, 2019) (def.’s reply in support of mot. to

 dismiss) (attached as Exhibit B hereto).

       Here, Defendant citing to Nashel, argues that Plaintiff does not show that the

 data card information “‘necessarily originated’” from Defendant. Br. at 11,

 PageID.1166 (citing Nashel, 2022 WL 6775657, at *5). Defendant argues that

 Plaintiff does not show how the list brokers received the information, and that the

 two data cards, from 2006 and 2022, requires a legal conclusion that this continued



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 ongoing during that time period. Id. First, alone, the 2022 data card is sufficient

 because, as argued throughout, the data list here is necessarily a collection of

 subscriber information from the past. Beyond that, Plaintiff ties it together with an

 earlier data card, a privacy policy during the time period in which Defendant

 admitted to disclosing all of its subscribers’ Personal Reading Information to third

 parties, and various articles from a marketing company, one describing the

 availability of various Defendant customer lists for rental and exchange, and another

 in which it describes how it maintained revenue for Defendant, even quoting James

 Hale from the Mayo Clinic as saying “We were very impressed with RMI’s ability

 to maintain revenue despite the close of [another newsletter].” FAC, Ex. C.

       Defendant argues that the data cards that Plaintiff attaches “do not identify the

 source of any information purportedly being made available by the third parties,”

 arguing that a gap exists in which Plaintiff cannot conclude that the advertised lists

 necessarily emanated from Defendant. Br. at 11-12, PageID.1166-67. First, as

 described above, and as acknowledged by the defendant in Wheaton, a customer

 subscriber list is the precise type of thing that would emanate from the publisher,

 and Plaintiff has sufficiently alleged as much and passes the required threshold under

 Rule 8. As noted above, Judge Quist held the same in Horton: “Given that GameStop

 possessed the Game Informer subscription information and that NextMark purported

 to sell that information, the implication that GameStop disclosed the information to



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 NextMark or other data-mining companies passes the threshold of plausibility.”

 Horton, 380 F. Supp. 3d at 682.

       Defendant also argues that the version of the Nextmark data card that appears

 as Ex. A to the FAC does not support Plaintiff’s claim because it references

 subscriber information from 2022 and 2006, but not from the pre-July 31, 2016 time

 period. Br. at 11, PageID.1167. Defendant is mistaken on multiple accounts

 regarding the import of the information on the data card.

       First, contrary to Defendant’s assertion, the data card is cumulative,

 displaying “COUNTS THROUGH 07/19/2022.” FAC ¶ 2, & id., Ex. A. The current

 data card, at the very least, plausibly suggests that Defendant sold Plaintiff’s and

 Class members’ Private Reading Information to third parties during the relevant pre-

 July 31, 2016 time period because the FAC alleges, and the Court must accept as

 true for purposes of deciding the Motion, that the data advertised in the data card

 attached to the FAC as Ex. A was also advertised on a substantially similar data card

 that existed during the relevant pre-July 31, 2016 time period, see FAC ¶ 2, and that,

 from at least as early as 2005 and as recently as 2022, Defendant “continuously”

 transmitted its customers’ Private Reading Information to third party data appenders

 and aggregators (at least once a month) in order to have it enhanced with additional

 demographic and personal data about each subscriber, which Defendant then made

 available for rental and exchange – and in fact rented and exchanged it – to numerous



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 other third parties who were interested in purchasing it over the same time period.

 FAC ¶¶ 1-2, 5-6, 9-10, 14, 50-54, 69-81; see also id., Exs. A-E. Further, as stated

 above, Plaintiff attached a 2006 data card to the FAC and provided information and

 support concerning Defendant’s systematic and continuous practices of renting and

 exchanging its list from 2006-2022. See id. ¶¶ 2-7, Exs. A-E.

       All of these allegations are further bolstered by Defendant’s own privacy

 policy in effect during the relevant pre-July 31, 2016 time period, in which

 Defendant admitted to disclosing its customers’ Private Reading Information to third

 parties, precisely as alleged in the FAC. See FAC ¶ 8 (citing id., Ex. E (stating that

 Defendant discloses all of its subscribers’ Personal Reading Information to third

 parties, including by “stor[ing]” its customers’ “personal information” with “a third

 party vendor,” and by “regularly shar[ing] our postal mailing list with other

 organizations offering products and services that may be of interest to our

 customers”)). Defendant glosses over these factual allegations and the

 accompanying exhibits in an ill-guided effort to liken this case to Nashel.

       And while Defendant questions the source of the information in the data card

 (Br. at 5, PageID.1160) (“Exhibits A and B also do not reflect the source of the

 information allegedly available, how NextMark obtained the information, or the

 individuals whose information is advertised.”)), the data card itself is titled “MAYO

 CLINIC HEALTH LETTER Mailing List” see FAC ¶ 2 & id., Ex. A (emphasis



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 added), which more than plausibly establishes that the offered data originated from

 Defendant. Basic common sense also confirms that Defendant is the only original

 source of the list containing the names and addresses of its subscribers, absent some

 outside party surreptitiously and wrongly gaining access to the file. See Horton, 380

 F. Supp. 3d at 682. As the FAC alleges, Nextmark is a list broker which advertises

 on its website the data cards of various publishers, including Defendant, in order to

 broker sales of the advertised data on behalf of its clients. Thus, Nextmark brokers

 sales of Defendant’s subscribers’ Private Reading Information to third parties on

 behalf of Defendant. The Nextmark data card is just one example of many types of

 disclosures made by Defendant during the relevant time period. And Plaintiff has

 provided information concerning a third party to whom Defendant has regularly and

 systematically disclosed its customers’ Private Reading Information to during the

 relevant pre-July 31, 2016 time period for both list rental brokerage and data

 enhancement services ‒ RMI Direct Marketing. FAC ¶ 5, & id., Exs. C and D.

       Ultimately, the existence of the data card, together with the admissions in

 Defendant’s privacy policy and the other factual allegations of the FAC, confirm the

 systematic nature of Defendant’s disclosure practices.

       Defendant attempts to sweep the allegations and articles concerning

 Defendant’s relationship with RMI (see FAC ¶¶ 5-7 & id., Exs. C and D) under the

 rug by arguing that Ex. C to the FAC “says nothing about whether any activities



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 were undertaken in the relevant 2016 time period” and that “there is nothing on

 Exhibit D [to the FAC] to connect it to conduct in 2016.” Br. at 13, PageID.1168.

 But, Plaintiff is not required to prove his claim with evidence at this time. He must

 merely allege facts that plausibly suggest Defendant violated the PPPA. The data

 cards, the allegations regarding RMI’s marketing relationship with Defendant, and

 Defendant’s own privacy policy do just that.

       Defendant argues that although Plaintiff has alleged that Defendant has been

 an RMI client since 2005 (through at least 2018), this does not mean that Defendant

 necessarily disclosed information about Plaintiff and its entire mailing list. Br. at 14,

 PageID.1169. But that is exactly how mailing lists work. As argued above and

 alleged in Plaintiff’s FAC, Defendant’s relationship with RMI Direct Marketing is

 one of the types in which Defendant necessarily transmitted all of its subscribers’

 Personal Reading Information (including Plaintiff’s and all Class members’ Personal

 Reading Information) to RMI on at least as frequently as a monthly basis over the

 same time period. FAC ¶ 6. At the end of the day, Defendant is liable under the

 PPPA because it disclosed Plaintiff’s Private Reading Information to third parties

 without his consent and Defendant offers no denial of doing the same.

       Finally, Defendant argues that a PPPA plaintiff must “demonstrate that his or

 her own protected information was disclosed within the relevant time period” and

 that “an allegation that data was advertised as available for sale falls far short of an



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 allegation that his specific data was actually disclosed during the relevant time

 period.” Br. at 15, PageID.1170. But the FAC specifically alleges that Defendant

 systemically disclosed its entire customer database (including Plaintiff’s and all

 Class members’ Private Reading Information) to third parties, including RMI, on

 a regular basis (at least as frequently as once a month) during the relevant pre-July

 31, 2016 time period. Defendant further argues that Plaintiff’s claim that he saw a

 dramatic uptick of junk mail following his purchase of a subscription to Mayo Clinic

 Health Letter is circumstantial and “not sufficient to establish that his data was

 disclosed during the relevant time period.” Id. (citing FAC ¶ 11). However, at this

 stage of pleading, that is all that is required. As noted above, numerous published

 PPPA cases have held the same: Horton, 380 F. Supp. 3d at 682 (allegations of

 existence of mailing list plus receipt of increased junk mail sufficient); Perlin, 237

 F. Supp. 3d at 642; Moeller, 235 F. Supp. 3d at 873; Hearst, 192 F. Supp. 3d at 453;

 Boelter, 210 F. Supp. 3d at 590.

       Moreover, recent PPPA decisions in the Article III standing context further

 confirm that Plaintiff has adequately stated a claim for relief in this case. Pursuant

 to Sixth Circuit precedent, a plaintiff who adequately alleges a claim for violation of

 the PPPA has Article III standing to pursue that claim in federal court, because a

 violation of the PPPA necessarily results in the nonconsensual dissemination of

 information reflecting a plaintiff’s personal reading choices. See Coulter-Owens v.



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 Time Inc., 695 F. App’x 117, 121 (6th Cir. 2017) (“In short, given that the PPPA

 contains an express private right to sue, it confers statutory standing on a person

 whose information was disclosed in violation of it. Moreover, the disclosure of that

 information is a cognizable injury in fact for purposes of Article III standing.”).

 Thus, in applying the Sixth Circuit’s controlling decision in Coulter-Owens, several

 courts in other PPPA cases have recently concluded that plaintiffs had Article III

 standing to pursue PPPA claims in federal court based upon allegations that were

 found to adequately demonstrate that the plaintiffs’ Personal Reading Information

 had been disclosed to third parties in violation of the statute. 10 The plaintiffs’


 10
        See, e.g., Pratt, 586 F. Supp. 3d at 676 (stating that “it is well established that
 a properly alleged PPPA claim confers Article III standing,” and concluding that the
 plaintiffs had Article III standing based upon their allegations, substantially similar
 to those made here, that the defendant had disclosed their PRI in violation of the
 statute); Krassick v. Archaeological Institute of Am., 2022 WL 2071730, at *2 (W.D.
 Mich. June 9, 2022) (explaining that “[f]acial attacks on jurisdiction are reviewed
 under the same standard as is applied to a Rule 12(b)(6) motion: the Court accepts
 Krassick’s well-pleaded allegations as true and asks whether subject matter
 jurisdiction exists based on the complaint[,]” and concluding that plaintiff had
 Article III standing based on her allegations that the defendant had “disclos[ed] [her]
 private reading information in violation of the PPPA[,]” which “‘is a cognizable
 injury in fact for purposes of Article III standing’”) (quoting Coulter-Owens, 695 F.
 App’x at 121); Kinder, 2014 WL 4209575, at *3 (“Here, Kinder has alleged that
 Meredith violated her rights pursuant to the [PP]PA by improperly disclosing and
 selling her personal information. Taking her allegations as true, as this Court must
 on a motion to dismiss, the allegations would properly allege a violation of the
 [PP]PA. Thus, Kinder has both statutory standing pursuant to [PP]PA and Article III
 standing.”); Boelter, 269 F. Supp. 3d at 185 (“[E]very court to consider the issue of
 standing under the [PP]PA has concluded that such a violation constitutes a concrete
 injury in and of itself.”); Moeller, 235 F. Supp. 3d at 873 (“In the complaint,
 plaintiffs allege that defendants violated their privacy rights by disclosing personal-

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 allegations concerning defendants’ disclosures of PRI in the Pratt, Krassick, Kinder,

 Boelter, Halaburda, and Perlin actions are substantially similar to the allegations

 made by Plaintiff in this case. Thus, by finding that the plaintiffs adequately

 demonstrated their Article III standing in the Pratt, Krassick, Kinder, Boelter,

 Halaburda, and Perlin actions, those courts necessarily found that the plaintiffs’

 allegations – again, allegations substantially similar to those made by Plaintiff here

 – plausibly suggested an entitlement to relief, satisfying the pleading standard set

 forth in Rule 8, as interpreted by the Supreme Court in Iqbal and Twombly. See

 CHKRS, LLC v. City of Dublin, 984 F.3d 483, 489 (6th Cir. 2021) (explaining that

 “[s]tanding is necessary for a court’s subject-matter jurisdiction, so the court has a

 duty to raise a standing defect (like any other jurisdictional defect) on its own

 initiative”).

        Notably, Defendant does not deny publicly advertising a data card offering to

 rent and exchange all of its subscribers’ Private Reading Information to third parties

 during the relevant pre-July 31, 2016 time period. Nor does Defendant even deny



 reading information to data-mining companies and third-party database
 cooperatives. . . . And because the alleged violation of the Michigan PPPA here
 implicates plaintiffs’ ‘concrete interest’ in the nondisclosure of their personal
 information without their permission, they have adequately pled a concrete injury-
 in-fact”); Halaburda v. Bauer Pub. Co., 2013 WL 4012877, at *3-5 (E.D. Mich.
 Aug. 6, 2013) (disclosure of person’s information in violation of the PPPA is a
 cognizable injury-in-fact and confers Article III standing); Perlin, 237 F. Supp. 3d
 at 627-28 (same).

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 disclosing Plaintiff’s and Class members’ Private Reading Information to data

 appenders and aggregators and all of the various other types of third parties specified

 in the FAC during the relevant time period via declaration, any statement in its brief,

 or otherwise. Defendant’s attack on the sufficiency of the FAC’s allegations is thus

 an attempt to evade liability under a statute that Defendant itself knows it violated,

 on the grounds that Plaintiff’s allegations do not conclusively prove a violation with

 hard evidence. That is not the standard that Rule 8 imposes. After accepting the

 FAC’s allegations as true and drawing all reasonable inferences from them in

 Plaintiff’s favor, it would be reversible error to dismiss this case pursuant to Rule

 12(b)(6) given Rule 8’s low bar.

       What Defendant really wants to do is turn the PPPA into a toothless tiger. The

 crux of this lawsuit is that Defendant failed to inform Plaintiff and the proposed Class

 members that it would disclose their Private Reading Information to others and failed

 to obtain their consent prior to disclosing that information to others. Plaintiff and the

 Class members cannot possibly be expected to allege the exact dates of each

 disclosure or all of the entities to whom Defendant made these non-consensual,

 uninformed disclosures, absent a reasonable opportunity for discovery. By

 demanding such specificity, Defendant asks the Court to adopt a pleading standard

 no PPPA plaintiff could ever satisfy, emasculating this important consumer

 protection statute and absolving Defendant of its liability under it in the process.



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 This Court need not go along. The FAC states a claim, and the Motion should be

 denied.

                                  CONCLUSION

       For the foregoing reasons, the Motion should be denied.11

 Dated: February 14, 2023              Respectfully submitted,

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 11
        If any part of the FAC is dismissed, Plaintiff respectfully requests leave to
 amend to afford him an opportunity to cure any deficiencies in the FAC identified
 by the Court. “[R]ule 15(a) declares that leave to amend ‘shall be freely given when
 justice so requires’; this mandate is to be heeded.” Foman v. Davis, 371 U.S. 178,
 182 (1962).

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                CERTIFICATE REGARDING WORD COUNT

       Plaintiff, in compliance with L.R. 7.2(b)(i)-(ii), used 8,485 words in Plaintiff’s

 foregoing brief. Microsoft Word for Office 365 Business version 1910 is the word

 processing software used to generate the word count in the attached brief.

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                           CERTIFICATE OF SERVICE

       I hereby certify that on February 14, 2023, I electronically filed the foregoing

 documents using the Court’s electronic filing system, which will notify all counsel

 of record authorized to receive such filings.


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